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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

TAMARA JEAN FARRELL,                 )
an individual,                       )
                                     )               CASE NO.:
            Plaintiff,               )
vs.                                  )
                                     )
SPALDING GROVE, LLC,                 )
a Georgia Limited Liability Company, )
                                     )
            Defendant.               )
____________________________________)

                                   COMPLAINT

      Plaintiff, TAMARA JEAN FARRELL, through her undersigned counsel,

hereby files this Complaint and sues SPALDING GROVE, LLC, a Georgia

Limited Liability Company, for injunctive relief, attorney’s fees and costs pursuant

to 42 U.S.C. § 12181 et. seq., (“AMERICANS WITH DISABILITIES ACT” or

“ADA”) and allege:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et. seq., (hereinafter




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referred to as the “ADA”). This Court is vested with original jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

      2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and

Rule 3.1, Local Rules of the United States District Court for the Northern District

of Georgia.

      3.      Plaintiff, TAMARA JEAN FARRELL, (hereinafter referred to as

“MS. FARRELL”), is a resident of Henry County, Georgia.

      4.      MS. FARRELL is disabled and suffers from Congenital Spastic

Cerebral Palsy Diplegia.     She requires the use of either a special cane or a

wheelchair as her primary means of mobility.

      5.      Due to her disability, MS. FARRELL is substantially impaired in

several major life activities, including walking.

      6.      Defendant SPALDING GROVE, LLC, a Georgia Limited Liability

Company, (hereinafter referred to as “DEFENDANT”), is registered to do business

in the State of Georgia. Upon information and belief, DEFENDANT is the owner

and/or operator of the real property and improvements which are the subject of this

action, to wit: the Property, located at 4015 Holcomb Bridge Rd, Norcross, GA

30071.



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      7.      All events giving rise to this lawsuit occurred in the Northern District

of Georgia, Gwinnett County, Georgia.

                   COUNT I - VIOLATION OF TITLE III OF THE
                     AMERICANS WITH DISABILITIES ACT

      8.      Plaintiff realleges and incorporates into this cause of action each and

every allegation contained in the previous paragraphs of this Complaint.

      9.      The Property, a shopping center, is open to the public and provides

goods and services to the public.

      10.     MS. FARRELL has visited the Property and attempted to utilize the

goods and services offered at the Property.

      11.     While at the Property, MS. FARRELL experienced serious difficulty

accessing the goods and utilizing the services therein due to the architectural

barriers discussed herein.

      12.     MS. FARRELL continues to desire to visit the Property, but fears that

she will continue to experience serious difficulty due to the barriers discussed

herein, which still exist.

      13.     MS. FARRELL plans to and will visit the property in the near future

to utilize the goods and services offered thereon. However, but for the barriers to

access located at the Defendant’s Property, Plaintiff would visit more often.

      14.     Defendant is in violation of 42 U.S.C. § 12181 et. seq. and 28 C.F.R.


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§ 36.304 et. seq. and are discriminating against the Plaintiff due to Defendant’s

failure to provide and/or correct, inter alia, the following architectural barriers

which hindered Plaintiff’s access throughout the Defendant’s Property:

                   A.     Plaintiff encountered inaccessible parking throughout the

            Property, (specifically near Taco Bell/Kentucky Fried Chicken) due to

            slopes in excess of 1:48. This condition made it difficult for Plaintiff

            to transfer into and out of her vehicle and increased her risk of a fall.

                   B.     Plaintiff encountered inaccessible parking throughout the

            Property, (specifically near Suite 100, Beauty Mart, Goodwill,

            Subway, Furkids, Dollar Tree, Lens Crafters, Dunkin Donuts and

            Atlanta Cricket Zone) due to off-center, missing and/or low signage to

            identify numerous disabled use parking spaces as exclusively for

            disabled use.     These conditions made it difficult for Plaintiff to

            identify and use the designated accessible parking areas.

                   C.     Plaintiff encountered inaccessible parking throughout the

            Property (specifically near Suite 100 and Dollar Tree) due to some of

            the disabled use parking spaces with short access aisles, improper

            dimensions and obstructed access aisles. These conditions made it

            difficult for Plaintiff to transfer into/out of a vehicle.

                   D.     Plaintiff encountered inaccessible curb ramps on all

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             ramps throughout the Property due to disrepair, excessive running

             slopes, excessive side flare slopes and/or a general failure to provide

             smooth transitions between the ramps and the adjoining surfaces.

             These conditions increased Plaintiff’s chances of a fall and required

             that she use extra caution maneuvering over these ramps.

      15.    Defendant either does not have a policy to assist people with

disabilities or refuses to enforce such a policy if it does exist.

      16.    Independent of her intent to return as a patron to the Property,

Plaintiff additionally intends to return to the Property as an ADA tester to

determine whether the barriers to access stated herein have been remedied.

      17.    Removal of the barriers to access located on the Property is readily

achievable, reasonably feasible and easily accomplishable without placing an

undue burden on Defendant.

      18.    Removal of the barriers to access located on the Property would allow

Plaintiff to fully utilize the goods and services located therein.

      19.    The Plaintiff has been obligated to retain undersigned counsel for the

filing and prosecution of this action. Plaintiff is entitled to have her reasonable

attorney’s fees, costs, and litigation expenses paid by Defendant.

      WHEREFORE, the Plaintiff demands judgment against SPALDING

GROVE, LLC, and requests the following injunctive and declaratory relief:

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   A.    That the Court declares that the Property owned and

         operated by DEFENDANT is in violation of the ADA;

   B.    That the Court enter an Order directing DEFENDANT to

         alter its property to make it accessible and useable by

         individuals with disabilities to the full extent required by

         Title III of the ADA;

   C.    That the Court enter an Order directing DEFENDANT to

         evaluate and neutralize its policies and procedures

         towards persons with disabilities for such reasonable time

         so as to allow DEFENDANT to undertake and complete

         corrective procedures;

   D.    That the Court award reasonable attorney’s fees, costs

         (including expert fees), and other expenses of suit, to the

         Plaintiff; and

   E.    That the Court award such other and further relief as it

         deems necessary, just and proper.


                      Respectfully Submitted,

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                     By: /s/ John A. Moore       .




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